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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                       WACO DIVISION

ARENA IP, LLC,

                 Plaintiff,

v.                                             Civil Action No. 6:23-cv-054-DAE

VERIZON COMMUNICATIONS, INC.,

                 Defendant.                    JURY TRIAL DEMANDED




         ORDER GRANTING DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
        COMPLAINT FOR IMPROPER VENUE AND FAILURE TO STATE A CLAIM

          The Court, having reviewed Defendant Verizon Communications Inc.’s Motion to Dismiss

Plaintiff’s Complaint for Improper Venue and Failure to State a Claim, and finding that the relief

requested therein is appropriate and in the interests of justice, GRANTS Defendant’s motion and

ORDERS that Arena IP, LLC’s Complaint is dismissed in its entirety both for improper venue and

failure to state a claim.

          SO ORDERED.



Dated: __________________                          _____________________________________
                                                   DAVID ALAN EZRA
                                                   SENIOR UNITED STATES DISTRICT JUDGE




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